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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             ) Chapter 11
                                                                   )
Z GALLERIE, LLC, et al., 1                                         ) Case No. 19-10488 (LSS)
                                                                   )
                                    Debtors.                       ) (Joint Administration Requested)
                                                                   )

NOTICE OF AGENDA FOR HEARING ON FIRST DAY MOTIONS SCHEDULED FOR
        MARCH 12, 2019, AT 3:30 P.M. (PREVAILING EASTERN TIME) 2


Date and Time of Hearing:             Tuesday, March 12, 2019, at 3:30 p.m. (prevailing Eastern Time)

Location of Hearing:                  The Honorable Judge Laurie Selber Silverstein, Bankruptcy Judge,
                                      United States Bankruptcy Court for the District of Delaware,
                                      824   Market    Street,  6th Floor,      Courtroom     No.    2,
                                      Wilmington, Delaware 19801.

Copies of Motions:                    A copy of each pleading can be viewed on the Court’s website at
                                      https://ecf.deb.uscourts.gov and on the website of the Debtors’
                                      proposed        notice      and    claims     agent,  Stretto,     at
                                      http://cases.stretto.com/zgallerie. Further information may be
                                      obtained      by      calling   (855)     276-9008   or     emailing
                                      TeamZGallerie@stretto.com.

     This agenda sets forth items in the order they appear in the first day motions binders
                delivered to the Court. The status of each is set forth below.

1.       Voluntary Chapter 11 Petitions

                   A.      Z Gallerie, LLC

                   B.      Z Gallerie Holding Company, LLC




1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the
     Debtors’ service address is: 1855 West 139th Street, Gardena, CA 90249.

2    Any party who wishes to attend telephonically is required to make arrangements through CourtCall by
     telephone (866-582-6878) or by facsimile (866-533-2946).




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2.      First Day Declaration. Declaration of Mark Weinsten, Interim President and Chief
        Executive Officer of Z Gallerie, LLC, in Support of Debtors’ Chapter 11 Petitions and
        First Day Motions [Docket No. 25]

                   Status:   The Declaration will be relied upon as evidentiary support for the first
                             day matters listed below.

3.      Joint Administration Motion. Debtors’ Motion Seeking Entry of an Order (I) Directing
        Joint Administration of Their Related Chapter 11 Cases and (II) Granting Related Relief
        [Docket No. 3]

                   Status:   This matter is going forward.

4.      SOFA/Schedules Extension Motion. Debtors’ Motion Seeking Entry of an Order
        (I) Extending Time to File Schedules of Assets and Liabilities, Schedules of Current
        Income and Expenditures, Schedules of Executory Contracts and Unexpired Leases, and
        Statements of Financial Affairs and (II) Granting Related Relief [Docket No. 5]

                   Status:   This matter is going forward.

5.      Stretto 156(c) Retention Application. Debtors’ Application for Appointment of Stretto
        as Claims and Noticing Agent [Docket No. 6]

                   Status:   This matter is going forward.

6.      Creditor Matrix Motion. Debtors’ Motion Seeking Entry of an Order (I) Authorizing
        the Debtors to File a Consolidated List of Creditors in Lieu of Submitting a Separate
        Mailing Matrix for Each Debtor, (II) Authorizing the Debtors to Redact Certain Personal
        Identification Information for Individual Creditors, and (III) Granting Related Relief
        [Docket No. 4]

                   Status:   This matter is going forward.

7.      Cash Management Motion. Debtors’ Motion Seeking Entry of Interim and Final Orders
        (I) Authorizing the Debtors to (A) Continue to Operate Their Cash Management System,
        (B) Honor Certain Prepetition Obligations Related Thereto, and (C) Maintain Existing
        Business Forms, and (II) Granting Related Relief [Docket No. 7]

                   Status:   This matter is going forward with respect to an interim order.




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8.      Utilities Motion. Debtors’ Motion Seeking Entry of Interim and Final Orders (I)
        Determining Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting
        Utility Providers From Altering, Refusing, or Discontinuing Utility Services, (III)
        Establishing Procedures for Determining Adequate Assurance of Payment, (IV)
        Authorizing Fee Payments to Ecova for Services Performed, (V) Requiring Utility
        Providers to Return Deposits for Utility Services No Longer in Use, and (VI) Granting
        Related Relief [Docket No. 9]

                   Status:   This matter is going forward with respect to an interim order.

9.      Taxes Motion. Debtors’ Motion Seeking Entry of Interim and Final Orders
        (I) Authorizing the Payment of Certain Prepetition Taxes and Fees and (II) Granting
        Related Relief [Docket No. 10]

                   Status:   This matter is going forward with respect to an interim order.

10.     Insurance Motion. Debtors’ Motion Seeking Entry of an Order (I) Authorizing the
        Debtors to (A) Pay Their Obligations Under Insurance Policies Entered into Prepetition,
        (B) Continue to Pay Brokerage Fees, and (C) Renew, Supplement, Modify, or Purchase
        Insurance Coverage, and (II) Granting Related Relief [Docket No. 12]

                   Status:   This matter is going forward.

11.     Comprehensive Vendors Motion. Debtors’ Motion for Entry of Interim and Final
        Orders (I) Authorizing (A) Debtors to Pay Certain Prepetition Claims of Trade
        Claimants and Other Vendors, and (B) Procedures Related Thereto, (II) Granting
        Administrative Priority for Outstanding Orders, and (III) Granting Related Relief
        [Docket No. 11]

                   Status:   This matter is going forward with respect to an interim order.

12.     Customer Programs Motion. Debtors’ Motion Seeking Entry of Interim and Final
        Orders (I) Authorizing the Debtors to Maintain and Administer Their Existing Customer
        Programs and Honor Certain Prepetition Obligations Related Thereto and (II) Granting
        Related Relief [Docket No. 8]

                   Status:   This matter is going forward with respect to an interim order.

13.     Wages Motion. Debtors’ Motion Seeking Entry of Interim and Final Orders (I)
        Authorizing, but Not Directing, the Debtors to (A) Pay Prepetition Employee Wages,
        Salaries, Other Compensation, Reimbursable Employee Expenses, and Non-Insider
        Employee Incentive Programs, and (B) Continue Employee Benefits Programs and (II)
        Granting Related Relief [Docket No. 14]

                   Status:   This matter is going forward with respect to an interim order.

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14.     Store Closing Motion. Debtors’ Motion Seeking Entry of Interim and Final Orders (I)
        Authorizing Debtors to Reject Certain Unexpired Leases of Nonresidential Real
        Property, (II) Approving Procedures for Store Closing Sales, (III) Authorizing Customary
        Bonuses to Employees of Closing Stores, and (IV) Granting Related Relief
        [Docket No. 13]

                   Status:     This matter is going forward with respect to an interim order.

15.     DIP Financing Motion. Debtors’ Motion Seeking Entry of Interim and Final Orders (I)
        Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to
        Use Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative
        Expense Status, (IV) Granting Adequate Protection to the Prepetition Lenders, (V)
        Modifying Automatic Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related
        Relief [Docket No. 26]

        Related Documents:

        A          Declaration of Mark Weinsten in Support of the Debtors’ Motions for Entry of
                   Interim and Final Orders (I) Authorizing the Debtors to Obtain Post-Petition
                   Secured Financing Pursuant to Section 364 of the Bankruptcy Code, (II)
                   Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and
                   Superpriority Administrative Expense Claims, (IV) Granting Adequate Protection
                   to the Pre-Petition Lenders, (V) Modifying the Automatic Stay, (VI) Scheduling a
                   Final Hearing, and (VII) Granting Related Relief [Docket No. 28]

        B.         Declaration of Jason A. Cohen in Support of the Debtors’ Motion Seeking Entry
                   of Interim and Final Orders (I) Authorizing the Debtors to Obtain Postpetition
                   Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting
                   Liens and Providing Superpriority Administrative Expense Status, (IV) Granting
                   Adequate Protection to the Prepetition Lenders, (V) Modifying Automatic Stay,
                   (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief
                   [Docket No. 30]

                   Status:     This matter is going forward with respect to an interim order.

                             MATTERS TO BE HEARD AT A LATER DATE

16.     Bidding Procedures. Motion Seeking Entry of an Order (I) Approving the Bidding
        Procedures, (II) Scheduling the Bid Deadlines and the Auction, (III) Approving the Form
        and Manner of Notice Thereof, and (IV) Granting Related Relief [Docket No. 22]

                   Status:     This matter is going forward at a later date.




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18.     Chapter 11 Plan. Joint Plan of Reorganization of Z Gallerie, LLC and Its Debtor
        Affiliate Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 16]

                   Status:   This matter is going forward at a later date.


Dated: March 11, 2019                    /s/ Domenic E. Pacitti
Wilmington, Delaware                    Domenic E. Pacitti (DE Bar No. 3989)
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                                        Proposed Co-Counsel for the Debtors and Debtors in Possession




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